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                       EXHIBIT B
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                     2021 WL 5709250                             Appointed Counsel have been assisted by 20 other firms.
     Only the Westlaw citation is currently available.           Appointed Counsel and the assisting firms have submitted
United States District Court, N.D. Illinois, Eastern Division.   their hours for the Court's review on a quarterly basis.
                                                                 Their collective lodestar is 100,608.25 hours representing
               IN RE BROILER CHICKEN                             $50,928.159.75 in fees. See R. 4552 ¶ 24.
               ANTITRUST LITIGATION
                                                                 Appointed Counsel seek a fee award of one-third of the
                        No. 16 C 8637                            settlement total of $169,601,600.00, or $56,533,866.70. They
                              |                                  also seek payment of $4.5 million of the $5,104,566.48
                      Signed 12/01/2021                          in litigation expenses they have incurred. And they seek
                                                                 a $25,000 incentive award for each of the five named
                                                                 plaintiffs. 4
     MEMORANDUM OPINION AND ORDER 1

Thomas M. Durkin, United States District Judge
                                                                                            Analysis
 *1 In this lawsuit alleging a price-fixing conspiracy in
                                                                 It is customary for class counsel in large and complex cases
the chicken industry against more than 20 defendants, the
                                                                 to seek an interim fee award. See, e.g., Kleen Prod. LLC
Court appointed interim counsel to represent a putative
                                                                 v. Int'l Paper Co., 2017 WL 5247928, at *4 (N.D. Ill. Oct.
class of direct-purchaser plaintiffs (the “DPPs” and their
                                                                 17, 2017); see also In re Endotronics, Inc., 1989 WL 6746,
“Appointed Counsel”). See R. 144. 2 The Court approved           at *1 (D. Minn. Jan. 30, 1989) (“Untoward delay could
settlements Appointed Counsel negotiated with six defendant      discourage [class counsel] from engaging in matters such as
corporate families, totaling $169,601,600.00, while the case     these. The Court, therefore, must have discretion to award
continues to proceed against the remaining defendants. 3         interim fees and costs.”). The “starting point” for determining
Appointed Counsel have now moved for: an interim fee             such an award is the “market rate” for such services. In re
award; reimbursement of litigation expenses; and incentive       Synthroid Mktg. Litig., 264 F.3d 712, 719 (7th Cir. 2001);
awards to the five named class representatives. R. 4550. That    see also Silverman v. Motorola Sols., Inc., 739 F.3d 956, 957
motion is granted in accordance with this order.                 (7th Cir. 2013) (“[A]ttorneys’ fees in class actions should
                                                                 approximate the market rate that prevails between willing
                                                                 buyers and willing sellers of legal services.”); Williams v.
                                                                 Rohm & Haas Pension Plan, 658 F.3d 629, 635 (7th Cir.
                        Background
                                                                 2011) (“[T]he district court must try to assign fees that
Without the benefit of a prior government investigation to       mimic a hypothetical ex ante bargain between the class and
guide them, Appointed Counsel filed the first complaint          its attorneys.”). Estimation of the market rate “is inherently
in this case in September 2016. Since then, the Court has        conjectural,” In re Trans Union Corp. Priv. Litig., 629 F.3d
appointed counsel for two additional classes and more than       741, 744 (7th Cir. 2011), because “there is no market in class
100 entities have opted out of the classes to file their own     cases.” Brian T. Fitzpatrick, A Fiduciary Judge's Guide to
direct actions. The more than 20 defendants are represented      Awarding Fees in Class Actions, 89 Fordham L. Rev. 1151,
by some of the most prominent law firms in the country.          1155 (2021). But the Seventh Circuit has explained that the
                                                                 goal of approximating the market rate can be “informed by
Appointed Counsel successfully defended the case against         a number of factors, including: (1) the actual agreements
a significant motion to dismiss. They have shepherded the        between the parties as well as fee agreements reached by
case through extensive discovery, as is recounted in the         sophisticated entities in the market for legal services; (2) the
declaration supporting their motion, see R. 4552, and is         risk of non-payment at the outset of the case; (3) the caliber of
reflected in the more than 5,000 docket entries that make up     Class Counsel's performance; and [4] information from other
the case, including 16 scheduling orders. Appointed Counsel      cases, including fees awarded in comparable cases.” Hale v.
have briefed numerous motions, including a motion for class      State Farm Mut. Auto. Ins. Co., 2018 WL 6606079, at *8
certification that is currently pending.                         (S.D. Ill. Dec. 16, 2018) (citing Synthroid, 264 F.3d at 719).


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                                                                    13-MD-2420-YGR (N.D. Cal), Dkt. 2630-2; In re Optical
                                                                    Disk Drive Prods. Antitrust Litig., Case No. 10-MD-2134-
   A. Actual Agreements                                             VRW (N.D. Cal) Dkt. 2900, reported in In re Optical Disk
 *2 Appointed Counsel in this case do not have a fee                Drive Antitrust Litig., 959 F.3d 922, 934 (9th Cir. 2020)).
agreement with the named plaintiffs other than that they
would take a percentage of any award. See R. 5048-1 ¶               The Court does not put much stock in these examples. First,
11, Fitzpatrick Decl. (“According to [Appointed Counsel],           no other attorneys bid to be appointed counsel for the DPPs in
the representative class members signed retainer agreements         this case. Without competition, a bid auction was not feasible.
that did not specify a fee percentage; they specified only          And without competition, no attorney would offer to take a
that any fees would be awarded by the Court.”). 5 However,          case under a declining fee scale award structure.
2,808 claims have been filed by potential class member
entities in the class, the majority of whom are sophisticated       Furthermore, the Seventh Circuit has explained that declining
business entities. See id., Fitzpatrick Decl. (“In light of         fee scale award structures do not reflect market realities
the sophistication of the class members, all of whom are            and impose a perverse incentive “ensuring that at some
businesses and some of whom are quite large, the conclusion         point attorneys’ opportunity cost will exceed the benefits
that can be drawn from their decision not to object is that         of pushing for a larger recovery, even though extra work
they favor the flat fee proposed by DPPs—not a sliding-             could benefit the client.” Synthroid, 264 F.3d at 721; see also
scale fee.”). None of them have objected to the fee award           Silverman, 739 F.3d at 957 (“[S]olvent litigants do not select
request. Courts have found that the lack of opposition by           their own lawyers by holding auctions, because auctions do
sophisticated business entities is evidence that the award is       not work well unless a standard unit of quality can be defined
reasonable. See Silverman, 739 F.3d at 959 (holding that for        and its delivery verified. There is no ‘standard quantity’ of
large, sophisticated investors, it would be “worth a complaint      legal services, and verification is difficult if not impossible.”).
to the district judge if the lawyers’ cut seems too high. Yet       “Subsequent cases within the Seventh Circuit have similarly
none of the institutional investors has protested.”); In re Dairy   recognized that the auction concept is flawed[.]” R. 5050-1
Farmers of Am., Inc., 80 F. Supp. 3d 838, 847 (N.D. Ill.            at 17 n.15, Klonoff Decl. Of course, when confronted with
2015) (observing, in finding that the requested one-third fee       a court ordered competitive auction that permits declining
award was reasonable, that “the plaintiffs here are sizable,        scale bids, some attorneys will likely make such a bid in
sophisticated entities capable of reviewing (and objecting to)      order to win the auction. But for the reasons expressed by the
the proposed fee arrangement”),                                     Seventh Circuit, the Court questions whether it is appropriate
                                                                    to permit declining scale bids in an auction. Thus, cases with
No other actual agreements have been presented to the Court.        auctions that permitted such bids carry little weight in the
There is, however, case law describing court-ordered auctions       Court's consideration here.
in which potential class counsel bid for appointment. See
In re Cap. One Tel. Consumer Prot. Act Litig., 80 F. Supp.
3d 781, 800 (N.D. Ill. 2015) (collecting cases, including In           B. Risk of Non-Payment & Caliber of Class Counsel's
re Amino Acid Lysine Antitrust Litig., 918 F. Supp. 1190               Performance
(N.D. Ill. 1996)). The courts in In re Amino Acid and the            *3 A declining scale fee award structure might be
other cases collected by In re Capital One sought fee award         appropriate in cases in which settlement is a more likely
structure bids from attorneys hoping to represent the classes       outcome and in which the “marginal costs” of increasing the
in those cases. The courts in those cases chose counsel who         settlement recovery amount are low. See Silverman, 739 F.3d
submitted declining fee scale award structures. (In other           at 959. As Professor Fitzpatrick surmised, this “may explain
words, counsel proposed that their fee percentage decrease as       the use of [declining scale fee award structures] in the two
the settlement amount increased.) These cases are relatively        [Telephone Consumer Protection Act] cases” the Court asked
outdated, none being less than 20 years old. See R. 5048-1          the parties to address. See R. 5048-1 at 17 n.6, Fitzpatrick
¶ 8, Fitzpatrick Decl. (court “experimentation with auctions        Decl.
has all but ceased”). But the Court is also aware that counsel
for the End-User Plaintiff Class in this case bid a declining       The Court ordered the parties to address the use of declining
fee scale in other cases within the last ten years. See R. 5182     sliding scale fee award structures in Gehrich v. Chase Bank
(citing In re Lithium Ion Batteries Antitrust Litig., Case No.      USA, N.A., 316 F.R.D. 215, 236 (N.D. Ill. 2016), and In
                                                                    re Cap. One Tel. Consumer Prot. Act Litig., 80 F. Supp.


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3d 781, 805 (N.D. Ill. 2015). See R. 4915. Unlike those            are infected by default rules recommending smaller attorney
cases in which “settlement was likely,” Gehrich, 316 F.R.D.        fee award percentages for “megafunds.” See, e.g., Wal-Mart
at 230, settlement in a complex antitrust case like this           Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 123 (2d Cir.
is far from a foregone conclusion. See R. 505-1 ¶ 37,              2005) (affirming a 6.5 percent fee award from a common fund
Klonoff Decl. (“In terms of risk and complexity, TCPA cases        over $3 billion, reasoning that “the sheer size of the instant
are the polar opposite of the present case, a complicated          fund makes a smaller percentage appropriate”); Dial Corp.
multi-party antitrust conspiracy case.”). 6 Appointed Counsel      v. News Corp., 317 F.R.D. 426 (S.D.N.Y. 2016) (“[I]n class
invested massive resources of time and money when no other         actions where the recovered settlement fund runs into the
counsel expressed interest, with little assurance of success.      multi-millions, courts typically decrease the percentage of the
See Silverman, 739 F.3d at 958 (“When this suit got under          fees amount as the size of the fund increases.”). The Seventh
way, no other law firm was willing to serve as lead counsel.       Circuit has expressly rejected a megafund rule because it is a
Lack of competition not only implies a higher fee but also         perverse incentive. See Synthroid, 264 F.3d at 718 (reversing
suggests that most members of the securities bar saw this          district court's fee award in part because it imposed a lower
litigation as too risky for their practices.”). As noted, no       fee percentage because the settlement fund was more than
government investigation preceded the complaint in this case       $100 million, holding that “[m]arkets would not tolerate that
for Appointed Counsel to piggy-back. And Plaintiffs have           effect”). Clients generally want to incentivize their counsel to
been opposed by many defendants, including a number of             pursue every last settlement dollar, and a declining percentage
very large and well-funded corporations, which have retained       award operates to the contrary. Thus, to the extent that courts
some of the most prominent and sophisticated law firms in          in other circuits have awarded percentages smaller than what
the United States. The Court's 92-page decision denying the        Appointed Counsel seek here, the Court finds those awards
motions to dismiss was a relatively close call. Discovery          relatively unpersuasive.
proceeded while the motions to dismiss were briefed and
decided, so Appointed Counsel was immediately incurring             *4 Most persuasive are the large number of antitrust cases in
costs of time and money without any assurance of an award.         this circuit that have awarded one-third of the common fund
Furthermore, issues raised in the motions to dismiss show          as attorney's fees. See R. 5050-1 at 45-46 (table citing cases),
that success on class certification and summary judgment, let      Klonoff Decl. The fact that fee awards in antitrust cases in this
alone trial, is no guarantee.                                      circuit are almost always one-third is a strong indication that
                                                                   this should be considered the “market rate.” See R. 5048-1 ¶
Appointed Counsel have devoted thousands of hours to this          14, Fitzpatrick Decl. (in “a series of antitrust class actions....
case. Their performance to date has been exemplary. The            recover[ing] more than $2 billion.... not a single class member
road to some of the settlements was eventually smoothed            ever objected to the fee request in any of these cases” showing
by later criminal indictments. But Appointed Counsel's work        that “sophisticated corporations are happy to play flat fees
appears to have prompted the government investigations that        of 33.33% and they are happy to do so even in the largest
led to those indictments, rather than the reverse. A substantial   cases.”). There is simply little to no precedent recommending
award is warranted here as a proper incentive for high             anything other than an award of 33 percent. With the only real
quality counsel to take on complex cases, requiring a massive      evidence of the “market rate” being one-third, that is what the
investment of time and money, with such a high risk of non-        Court will award.
payment.

                                                                      D. Expenses
   C. Fee Awards in Comparable Cases                               Appointed Counsel seek $4.5 million out of $5,104,566.48 in
The Seventh Circuit has recognized that academic studies           expenses. Appointed Counsel “informed the class” that they
of attorney fees awards in common fund class settlement            would not seek to recover the full amount of their expenses at
cases reveal a declining percentage with the size of the           this time. See R. 4551 at 2 n.7. The request for $4.5 million
settlement. See Silverman, 739 F.3d at 959. But as Professor       in expenses is granted.
Fitzpatrick noted, “these findings are based on fee awards
from other Circuits ... that are not even trying to capture how    Expenses, however, should be deducted from the common
clients pay lawyers in the market like the Seventh Circuit         fund before the fee award percentage is applied. The “ratio
does.” R. 5048-1 at 20 n.7, Fitzpatrick Decl. These decisions      that is relevant to assessing the reasonableness of the
                                                                   attorneys’ fee that the parties agreed to is the ratio of (1)


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the fee to (2) the fee plus what the class members received.”        by “filing the suit.” Id. at 1016. No such risk is present here,
                                                                     and the named plaintiffs are business entities, not individual
Redman v. RadioShack, 768 F.3d 622, 630 (7th Cir. 2014).
                                                                     people. Presumably, businesses serving as named plaintiffs
Out-of-pocket costs, although paid through the settlement
                                                                     for the DPP class believe that the chance of collecting from
fund, are not benefits to the class and thus not part of “what
                                                                     this lawsuit was worth the cost of participating in it. Litigation
the class members received.” Id.; see also In re Wells Fargo
                                                                     is convenient for no one. But business entities are in a much
Secs. Litig., 157 F.R.D. 467, 471 (N.D. Cal. 1994) (“If an
                                                                     better position to devote time to a lawsuit and delegate the
attorney risks losing some portion of his fee award for each
                                                                     burdens among their officers and employees than a person
additional dollar in expenses he incurs, the attorney is sure
                                                                     who must bear the entire burden individually.
to minimize expenses.”). Therefore, Appointed Counsel will
be paid fees of one-third of the settlement fund minus $4.5
                                                                      *5 “Empirical evidence shows that incentive awards are now
million in expenses.
                                                                     paid in most class suits and average between $10-$15,000 per
                                                                     class representative.” See William B. Rubenstein, 5 Newberg
   E. Named Plaintiff Incentive Awards                               on Class Actions § 17:1 (5th ed. 2018). Appointed Counsel
“Because a named plaintiff is an essential ingredient of any         cite one antitrust case from this district which awarded
class action, an incentive award is appropriate if it is necessary   $15,000 to named plaintiffs from a $90 million settlement.
to induce an individual to participate in the suit.” Cook v.         See In re Potash Antitrust Litig., No. 1:08-cv-06910 (ECF No.
Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). “To determine          589) (N.D. Ill. June 12, 2013). Without specific hour totals
if an incentive award is warranted, a district court evaluates       indicating a higher award is appropriate, and without evidence
the actions the plaintiff has taken to protect the interests of      that the role of class representative imposed anything other
the class, the degree to which the class has benefitted from         than a professional (as opposed to a personal) burden, the
those actions, and the amount of time and effort the plaintiff       Court will not ignore what appears to be a customary
expended in pursuing the litigation.” Camp Drug Store, Inc. v.       maximum of a $15,000 incentive award.
Cochran Wholesale Pharm., Inc., 897 F.3d 825, 834 (7th Cir.
2018) (citing Cook, 142 F.3d at 1016). Incentive awards based
on a percentage of the settlement fund “are disfavored, if not                                 Conclusion
altogether forbidden.” See William B. Rubenstein, 5 Newberg
on Class Actions § 17:16 (5th ed. 2018); see also In Re EpiPen       Therefore, Appointed Counsel's motion [4550] is granted as
Mktg., Sales Pracs. & Antitrust Litig., 2021 WL 5369798, at          follows: (1) expenses are awarded in the amount of $4.5
*7 (D. Kan. Nov. 17, 2021).                                          million; (2) incentive awards in the amount of $15,000 are
                                                                     awarded to each of the five class representatives; and (3) fees
The declarations submitted in support of incentive awards            are awarded in the amount of $55,008,866.67, which is one
give no indication of the number of hours the named plaintiffs       third of the settlement fund after deducting the expenses and
have spent on the case. Appointed Counsel relies on Cook v.          incentive awards.
Niedert in which the Seventh Circuit affirmed an incentive
award of $25,000 per named plaintiff. See R. 4551 at 21
(citing 142 F.3d at 1016). But in Cook the named plaintiff was       All Citations
an individual who “reasonably feared workplace retaliation”
                                                                     Not Reported in Fed. Supp., 2021 WL 5709250




                                                             Footnotes


1       This opinion and order, originally entered on November 30, 2021, has been amended to correct typographical
        errors in the total settlement fund amount and the attorney fee award amount. This amendment is entered
        nunc pro tunc to November 30, 2021.




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2      The Court appointed Lockridge Grindal Nauen P.L.L.P. and Pearson, Simon & Warshaw, LLP as Interim Co-
       Lead Counsel, and Hart, McLaughlin & Eldridge, LLC as Interim Liaison Counsel.

3      This Court granted final approval to settlements with: Fieldale Farms Corporation on November 16, 2018,
       R. 1414; Amick Farms LLC on October 26, 2020, R. 3934; George's Inc., George's Farms, Inc. and Peco
       Foods, Inc. on October 27, 2020, R. 3944; and Pilgrim's Pride Corp., Tyson Foods, Inc., Tyson Chicken, Inc.,
       Tyson Breeders, Inc., and Tyson Poultry, Inc. on June 29, 2021, R. 4789.

4      The named plaintiffs are: Maplevale Farms, Inc.; John Gross and Company, Inc.; Ferraro Foods, Inc. and
       Ferraro Foods of North Carolina, LLC; Joe Christiana Food Distributors, Inc.; and Cedar Farms Co., Inc. See
       R. 4552 ¶ 36.

5      Appointed Counsel submitted a declaration from Brian Fitzpatrick, who is a professor at Vanderbilt University
       Law School and has studied and written about class action litigation. See R. 5048-1. In addition to requesting
       further briefing from Appointed Counsel, the Court invited briefs from counsel for the other two putative
       classes in the case. The Commercial and Institutional Indirect Purchaser Class submitted a declaration by
       Robert Klonoff, who is a professor at Lewis & Clark Law School, and who has also studied and written about
       class action litigation. See R. 5050-1. The Court found both declarations very helpful and has relied on them
       in preparing this opinion and order.

6      Moreover, research by both Professors Fitzpatrick and Klonoff shows that the use of declining sliding scale
       fee awards in the Seventh Circuit is rare. See R. 5048-1 at 13 n.5, Fitzpatrick Decl.; R. 5050-1 at 26-31,
       Klonoff Decl.



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